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PO Box 14 Two: Harbors, MN 55616 | 855-269-9628

Direct Recovery Services Date: 1/17/2023

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The Hon. U.S. Magistrate Judge ERK, U.S. DIS] B
Leo I. Brisbois OULUTS, Min
Gerald W. Heaney Federal Building

U.S. Courthouse and Customhouse

515 West First Street

Duluth, Minnesota 55802

Re: Rankin vs. Direct Recovery Services, et. al.
Docket No. 21-cv-1560

LETTER MOTION FOR ADJOURNMENT

To the Court,

Please accept this Letter Motion for Adjournment in response to the Order to Show Cause (OTC) as executed
by this Court on the date of December 30, 2022.

Please note for the record that I caught the new and fairly severe flu bug and while Plaintiff’ s Counsel sent the
OTC on January 6, 2023, I was in bed sick at that time and was not able to respond to Plaintiff's Counsel until
the date of January 13, 2023.

Plaintiff s Counsel contacted me on January 16, 2023 and stated in writing that he would neither consent to nor
oppose an adjournment of this hearing, scheduled for the 20 of January, 2023. Additionally, Plaintiff’ s
Counsel stated in writing that he would neither consent to nor oppose a request to have this hearing remotely.

I am asking for an adjournment, as I have a scheduling conflict with the hearing date, as follows.

On or about the date of December 23, 2022, my family scheduled and booked a long anticipated trip overseas
in conjunction with my daughter’s wedding and my flight was booked for January 18, 2023, with a return date
in the second week of February.

Obviously, this occurred well before the Court executed the OTC and scheduled the hearing for the 20".

Therefore, it is respectfully requested that the Court adjourn the hearing date for Thirty (30) Days to the date of
February 20, 2023. Again, the Court is reminded that Plaintiff's Counsel does not oppose this adjournment.

Secondarily, it is respectfully requested that the Court allow for this hearing to occur remotely. All previous
appearances before the Court have occurred remotely, with no technical or legal issues or problems to have
occurred.

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Additionally, and as the Court is well aware, I am not licensed in the State of Minnesota nor in this Court and I
reside in the State of Florida. It would constitute a serious hardship to travel to Duluth, Minnesota, to appear in
person before the Court and in light of the history of remote appearances in this matter and the fact that

Plaintiff’ s Counsel does not oppose a remote hearing, it is submitted that the Court would not be prejudiced by
a remote hearing on the 20" of February, 2023.

WHEREFORE, it is hereby respectfully requested that the Court adjourn the hearing on its Order to Show
Cause until the date of February 20, 2022 and that this hearing be conducted remotely, in accordance with the
Court’s standard, remote procedures.

Thank you for your time and attention to this matter.

Sincerely,

Bruce Frank
Director of Legal Affairs & Compliance |
Direct Recovery Services

